                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY
In the matter of:
NMC Global Corporation
                                                 Debtor

Andrea Dobin
                                                 Plaintiff(s)
                                                                         Case No.        ______________________
                                                                                               16-27447
v.
Ghulam Suhrawardi
Nabil Kassem                                                             Adversary No.   ______________________
                                                                                                18-1469


                                                 Defendant(s)            Judge:           Christine M. Gravelle
                                                                                         ______________________


                         SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.
                                US Bankrutpcy Court
             Address of Clerk   402 E. State St.
                                Trenton, NJ 08608


At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
                                     Andrea Dobin
             Name and Address of
                                     Trenk DiPasquale, et al.
             Plaintiff’s Attorney
                                     427 Riverview Plaza
                                     Trenton, NJ 08611

If you make a motion, your time to answer is governed by Fed.R.Bankr.P. 7012.
YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place.

             Address                                            Courtroom:   3
                       US Bankrutpcy Court
                       402 E. State St.
                       Trenton, NJ 08608                        Date and Time:

                                                                        November 7, 2018 at 3:00pm


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT
   TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE
              TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

                                                                  Jeanne A. Naughton, Clerk

Date: ___________________________________
      September 7, 2018                                           By: ______________________________________
                                                                       Pamela Fiero
                                                                      Deputy Clerk

                                                                                                         rev.1/4/17

Pursuant to D.N.J. LBR 9019-2, Mediation: Procedures, there is a presumption of mediation in all adversary
proceedings. For more information regarding the mediation program, see the related Local Rules and forms
on the Court’s web site njb.uscourts.gov/mediation.
